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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 11-80205-CR-MARRA


    UNITED STATES OF AMERICA,

                           vs.

    MITCHELL J. STEIN,
                                 Defendant.



               REPLY TO OPPOSITION TO SUPPLEMENTAL MEMORANDUM


       I.      Preliminary Statement
       Faced with credible testimonial evidence establishing conclusively that its prosecutor made at

   least six false statements to this Court during the trial, the Government responds by presenting no

   evidence of any kind (viz, refusing to submit an affidavit from the prosecutor) to deny that the

   prosecutor affirmatively misled the Court in order to convict the Defendant.               Instead, the

   Government claims the prosecutor's false representations to the Court were about unimportant

   things and further claims that, for procedural reasons, the government does not wish to confront

   such material misrepresentations at this critical stage of the case. Indeed, after its Solicitor General

   told the United States Supreme Court in December 2017 that this Court would have an opportunity

   to adjudicate the false evidence issues on any new record presented by the Defendant on remand -

   - thus justifying a Government-advocated delay in the Supreme Court's certiorari review -- the

   Government is now arguing the opposite to this Court in pushing for a ruling that there is no

   opportunity for this Court to address the record impropriety in this case after all.

            To be sure, the law allows prosecutors latitude in obtaining convictions and then defending

   them on appeal. But, as the foregoing conduct reveals, the current situation goes well beyond the

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   pale. And as set forth below, the Government has effectively waived its right to an evidentiary

   hearing on this matter. The only germane question is whether the indictment should be dismissed

   or whether, in the alternative, other lesser relief, such as a new trial or production of grand jury

   materials should be ordered.

                                              ARGUMENT

      II.      The Government's Failure To Submit Evidence Is Dispositive

            A. The Government Was Obliged To Present Evidence
            The law in cases of prosecutorial misconduct proceeds on well-established premises

   pursuant to the recognized burden of proof and burden of producing evidence.               Here, the

   Government had every opportunity, if, as it says, the prosecutor did not out-and-out lie to the Court

   during trial, to submit a signed affidavit – or at a minimum a signed statement of some kind – from

   the prosecutor saying just that. By not even attempting to submit evidence contrary to Mr. Tribou's

   unequivocal testimony, the facts set forth in Mr. Tribou's declaration are due to be treated as

   established as uncontradicted and unimpeached. There is no authority in any jurisdiction, state or

   federal, permitting the Government to rebut credible testimony of prosecutorial misconduct by

   presenting no evidence of any kind in opposition to that testimony. Rather, the hallmark of our

   adversarial justice system is that litigants confronted with adverse evidence need to proceed by

   producing competent evidence in response to legitimate and supported claims of wrongdoing. The

   law does not provide the Government with a special exemption in false evidence cases: indeed, in

   such cases the burden of production is amplified. See, e.g., United States v. Burroughs, 905 F.

   Supp.2d 297, 306 (D.C.D.C. 2012) (once the defendant "first make[s] a 'substantial showing''" of

   a false evidence violation, "the Government has [the] obligation to produce evidence on [the]

   issue"); see also, c.f., United States v. Price, 566 F.3d 900, 910 (9th Cir. 2009) (in analogous Brady


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   context, holding that "[o]nce the defendant produces such evidence, the burden shifts to the

   government to demonstrate that the prosecutor satisfied his duty"). 1

           B. Charting Prosecutor's False Statements


           The Defendant has now proven that the prosecutor made at least six false statements to this

   Court during the trial. The following chart chronicles what has now been established for purposes

   of this case.

                         Established Prosecutor False Statements To Court
    No.      Prosecutor's False Statements                                  The Truth
     1. The prosecutor's false statement that he        The call was never made. Despite Mr.
        actually placed a telephone call to Mr.         Tribou's recollection that the calls he received
        Tribou between approximately 10:40 a.m.         in May, 2013 were from a female
        to 10:54 a.m. on May 16, 2013.                  representative about travel arrangements, the
                                                        Government has submitted no evidence even
                                                        tending to prove that its prosecutor (who is
                                                        male) made this one telephone call as he
                                                        represented. (Tribou Decl., at ⁋⁋ 4, 6.)
     2.   The prosecutor's false statement that, in     Mr. Tribou was not "skeptical" about
          the alleged telephone call, Mr. Tribou        anything regarding the authenticity of the
          "was to put it mildly, skeptical about the    check. Indeed, the check was authentic, was
          authenticity of the $50,000 check."           drawn by his wife Delores, and was cashed by
                                                        Signalife. (Tribou Decl, at ⁋⁋ 2, 5.)
     3.   The prosecutor's false statement that, in     As the Court apparently recognized when the
          the alleged telephone call, Mr. Tribou        prosecutor      made      this     disingenuous
          claimed he did not recognize the              misstatement during the trial, Mr. Tribou
          handwriting on the $50,000 check as his       never made such a comment. The check was
          own handwriting.                              drawn by Delores Tribou. In other words,
                                                        there was never an issue about Mr. Tribou's
                                                        "handwriting" in the first place. (Tribou
                                                        Decl., at ⁋⁋ 2, 5.)




           1
            The Government's open refusal to search the universe of documents is particularly
   egregious given the presence of Mr. Tribou’s declaration. The Defendant's Brady motion should
   be granted. See, DE510, at 9 (requesting the Government to search the universe of documents
   responsive to, among other things, Stein’s requests for information supporting the Government’s
   post-conviction theory about the purported scheme and theories conflicting with new evidence).

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     4.   The prosecutor's false statement that, in     Mr. Tribou never indicated that he did not
          the alleged telephone call, Mr. Tribou        know about his wife Delores' preparation of
          "indicated on the phone that he did not       the $50,000 check; indeed, Delores wrote the
          know how" his wife could have written         CHM purchase order legend on the check
          the CHM purchase order legend on the          when she drew the check. Mrs. Tribou was
          check since Mr. Tribou claimed his wife       indeed "aware of" the CHM purchase order
          "wasn't aware of a purchase order."           before cutting the $50,000 check in
                                                        compliance with that purchase order. (Tribou
                                                        Decl., at ⁋ 5.)
     5.   The false statement that the Tribous were     Mr. Tribou obviously never made such a
          not provided a copy of the CHM purchase       statement. The Tribous received the fully-
          order before cutting the $50,000 check.       filled-out CHM purchase order before cutting
                                                        the check to Signalife for that purchase order.
                                                        (Tribou Decl, at ⁋⁋ 2, 5.)
     6.   The false statement that Mr. Tribou told      Mr. Tribou never made such a statement;
          the prosecutor on the telephone that Mr.      indeed "Tribou & Associates" was a business
          Tribou was "not familiar" with the name       name he used at the time. (Tribou Decl, at ⁋
          "Tribou & Associates" as listed on the        6.)
          notation portion of the check.


          C. The Government's Non-Evidentiary Excuses Are Insufficient
          While the Government's decision not to present any statement by the prosecutor in the face

   of this record is understandable, it does not present any meaningful basis for denial of relief. 2

   There is no reported decision in this or any other Circuit where a prosecutor's numerous false

   statements to the trial court have been established, but the Court nevertheless decides to follow the

   government's refusal to conduct the harmless error review mandated by controlling caselaw of the

   Supreme Court. As the government itself has “concede[d]” in the past, the standard in false

   evidence cases requires the government to prove that the false statements were “harmless beyond

   a reasonable doubt.” United States v. Bagley, 473 U.S. 667, 680 n. 9 (1985) (quoting Chapman v.

   California, 386 U.S. 18, 24 (1967)); Ford v. Hall, 546 F.3d 1326, 1332 (11th Cir. 2008). In

   determining the proper disposition of this harmless error standard of review in this case, the Court


          2
            The Government’s failure to even attempt to rebut Tribou’s affidavit may reflect its
   recognition of Tribou’s substantial, well-regarded industry reputation. See, Exhibits A and B
   hereto.
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   should begin its analysis by asking what would have transpired at trial if the Court had learned that

   each and every statement made to it by the prosecutor about the alleged Tribou telephone call was

   false. The Court's sound insistence on candor belies any conclusion that it would have accepted

   serial misrepresentations by the prosecutor. Given this reality, the Government cannot believe

   now that the jury would have reacted any differently than would this Court in response to these

   revelations.

           Given its legally and factually precarious position and inability to meet the Tribou

   declaration head-on with a counter-affidavit, the Government resorts to misplaced factual and

   procedural arguments that are demonstrably ill-considered and inapposite. For example, the

   Government repeatedly claims that "nothing about Mr. Tribou's declaration … impacts the

   admissibility of the $50,000 check." (DE530, at 7; see also id. ("nothing in the Defendant's

   ‘Supplemental Memorandum’ is material to the question of the admissibility of the Tribou check

   ..."). This claim is frivolous, because it can no longer be denied that the check was both authentic

   and was delivered as down-payment for the CHM purchase order, then successfully cashed by

   Signalife. (See also Stein’s first Supplement to the pending Motion to Dismiss Indictment, DE490,

   and DE490-1 (Government counsel arguing before the Eleventh Circuit that only because it “didn’t

   recall the check at all [during trial], ... it didn’t agree to its admission [into evidence].”).)

           Even giving the Government every benefit of the doubt, the "admissibility" of Tribou’s

   $50,000 check could not legitimately still be called into question. The Government's claim

   otherwise is simply baseless. Indeed, this Court commented during the trial that if the check were

   actually authentic it would opt to admit it and "let Mr. Stein establish what he wants to establish."

   DE247, at 52. See Williams v. United States, 458 U.S. 279, 284–86, 102 S.Ct. 3088 (1982) (a check




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   is not hearsay because it is “not a ‘statement’ at all”); United States v. Davis, 596 F.3d 852, 857

   (D.C. Cir. 2010) (“checks … are not hearsay”).

          The Government devotes about half of its opposition to quoting verbatim a lengthy excerpt

   from the Eleventh Circuit decision, but it is that very excerpt which underscores the Defendant's

   right to relief now. The Eleventh Circuit made it clear that it only rejected the Napue 3 claims

   based on the record before it (United States v. Stein, 846 F.3d 1135, 1149, 1150 (11th Cir.) ("on

   this record")), and indeed the United States Solicitor General asked the Supreme Court to defer its

   certiorari consideration of this case until any new record could be evaluated by this Court on

   remand. Stein v. United States of America, 2017 WL 5158038 (Brief for the United States in

   Opposition) (November 6, 2017) (hereafter "Solicitor General Brief"), at 24. Given the Solicitor

   General's plea, the Government's attempt now to block this Court from considering the new record

   presented by the Defendant on remand is both unjustified and telling.

              Likewise, the Eleventh Circuit accepted on the prior record the Government's false

   narrative about there still being a "possibility that [the Defendant] ... fabricated the [CHM]

   purchase order" (Stein, 846 F.3d at 1149-50), however, as the Eleventh Circuit and Solicitor

   General recognized, that ruling was premised expressly on the status of the record presented to the

   court at the time. The Eleventh Circuit's acceptance of the "possibility" that Defendant fabricated

   the CHM purchase order derived from the Government's actions following the conviction. Indeed,

   those machinations even convinced the Eleventh Circuit that the CHM purchase order was not a

   “legitimate” document. Id. at 1141, 1150. The record now demonstrates that the "possibility"

   outlined by the Eleventh Circuit has now turned into an impossibility. The Tribou declaration

   conclusively proves that this was an authentic, binding and legitimate purchase order, signed by



          3
              Napue v. Illinois, 360 U.S. 264, 271, 79 S.Ct. 1173, (1959).
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   Mr. Tribou and funded by his wife after receipt of the fully filled-out purchase order form shortly

   after Tribou's execution of it. That the Government continues even now to argue that the

   Defendant "might have fabricated the purchase order" despite Mr. Tribou's confirmation of its

   bona fides is exactly the kind of continuing misconduct meriting not only order for a new trial but

   even dismissal of the case and other sanctions. See, e.g., United States v. O'Keefe, 825 F.2d 314,

   318 (11th Cir. 1987) (“It is well established that federal courts have the inherent power to dismiss

   an indictment if a sufficiently egregious case of [prosecutorial] misconduct is shown.”); United

   States v. Holloway, 778 F.2d 653, 655 (11th Cir. 1985) (same); see also, DE479 (Stein’s pending

   Motion to Dismiss Indictment).

          D. The Government's Procedural Arguments Lack Merit
          The Government's procedural arguments fare no better. For example, the Government cites

   general caselaw holding that new arguments cannot be added to a Rule 33 proceeding after

   expiration of three years. But the Government neither rebuts nor even discusses the caselaw cited

   by Defendant approving of evidentiary submissions that merely identify another instance of

   misconduct presented in a pending, timely Rule 33 filing. See, e.g., Supplement, DE529 at 2-3;

   DE490, at 1-2 (Stein’s first Supplement to pending Motion to Dismiss Indictment).

          More importantly, the Government completely ignores the well-established exceptions to

   the mandate rule directing in the circumstances of this case that the existing Eleventh Circuit

   decision and this Court's prior rulings no longer bind this Court given the new evidence presented

   in the Supplement. See, e.g., United States v. Ormond, 456 Fed. Appx. 866 (11th Cir. 2012)

   (holding that prior appellate decision not binding on district court given the presence of new

   evidence).

          And lastly, the Government makes much ado about the limitations of utilizing newly

   discovered evidence; however, newly discovered evidence is neither the standard on remand where

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   the mandate rule is inapplicable nor is the newly discovered evidence standard even applicable in

   this Circuit to cases involving claims of false evidence. See, e.g., Supplement, DE529 at 12 (citing

   United States v. Rivera Pedin, 861 F.2d 1522, 1526 (11th Cir. 1988) (newly-discovered evidence

   standard “is not applicable, however, where the Government's case included false testimony and

   the prosecution knew or should have known of the falsehood”) (citation and quotation marks

   omitted).).

          In sum, the Government's attempt to persuade this Court to forego consideration of the new

   record in adjudicating Defendant's false evidence claim is directly contrary not only to controlling

   caselaw in this Circuit, but also, and more importantly, to its Solicitor General's recent plea to the

   Supreme Court that the district court ---this Court---should be next to consider the matter, before

   any further appellate review is undertaken.

          E. The Motion Should Be Granted For Additional Reasons
          As Stein argues in his pending Motion to Dismiss Indictment, to which this second

   Supplement and Stein’s first Supplement relate (DE479; DE490), the indictment should be

   dismissed because the new evidence as well as the Government’s theories and admissions made

   on appeal in the Eleventh Circuit suggest that the grand jury either issued the indictment against

   Stein based on false evidence or that Stein was tried on a theory that was never submitted to or

   approved by the grand jury. Substantial error in grand jury proceedings is deemed “fatal” where

   the defendant is “convicted on a charge the grand jury never made against him.” Stirone v. United

   States, 361 U.S. 212, 219, 80 S. Ct. 270, 274 (1960) (dismissing indictment). In other words, if the

   prosecution did not fail to “recall” having Tribou’s check in its possession and presented to the

   grand jury its alternative theory that the scheme began much later and for different reasons – “when

   Signalife could not ship any product to Tribou” – dismissal of the indictment is warranted (DE479,

   at 9-10).

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           Alternatively, the indictment should be dismissed in the only possible alternative situation

   in which the prosecution presented to the grand jury the false evidence that the CHM purchase

   order “never happened.” That theory entirely conflicts not only with the Government’s recent

   claims that “Signalife could not ship” the product to Mr. Tribou, but also with Mr. Tribou’s now

   unrebutted statements that he had the purchase order in his possession when he relayed the

   purchase order number to his wife to prepare the down-payment check for the CHM purchase

   order (DE529-1, at 1 (paragraphs 2, 5), and at 3, 7). The name “Cardiac Hospital Management”

   next to the signature does not somehow render the purchase order fraudulent and it did not cause

   Mr. Tribou to be confused or hesitant about making the down payment. In the alternative, where

   the prosecution falsely represented to the grand jury that the purchase order “never happened” and

   was entirely “made up,” the indictment is subject to dismissal. See, e.g., United States v.

   DiBernardo, 775 F.2d 1470, 1475 (11th Cir. 1985) (dismissal of indictment warranted if “prosecutor

   intentionally placed false testimony before the grand jury”).

           Stein respectfully submits that, based on the new, uncontroverted record before the Court, one

   of the foregoing two errors necessarily occurred in the grand jury proceedings, both of which would

   be fatal to the indictment. Any remaining doubts would be resolved by disclosure of the grand jury

   material in lieu of the Court’s proceeding to dismiss the indictment at this time.

                                              CONCLUSION

           For the foregoing reasons and the reasons set forth in Stein’s pending pleadings, the indictment

   should be dismissed or a new trial should be ordered. Alternatively, the grand jury materials should be

   disclosed, Stein’s pending Brady motion should be granted, and an evidentiary hearing should be held.




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   Dated: June 6, 2018                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE



                 I HEREBY CERTIFY that on June 6, 2018, I electronically filed the foregoing

   documents with the Clerk of the Court and all counsel of record using CM/ECF.




                                          By:                   /s/
                                                David S. Harris, Esq.




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